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 Represented by Barnes Law Group, LLC

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 (973) 622-1800
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 Sari B. Placona (splacona@msbnj.com)
 Local Counsel for certain Georgia State Court Claimants
 Represented by Barnes Law Group, LLC

                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW JERSEY


  In re:                                          Chapter 11

  LTL MANAGEMENT, LLC,                            Case No. 23-12825(MBK)
            Debtor.


                     VERIFIED STATEMENT PURSUANT TO FEDERAL
                       RULE OF BANKRUPTCY PROCEDURE 2019
           Barnes Law Group, LLC (hereinafter “BLG”) submits this Verified Statement in

 accordance with Fed. R. Bankr. P. 2019.

           1.    I am the Managing Partner of Barnes Law Group, LLC and admitted to practice in

 Georgia and Florida and have been admitted to practice before numerous other courts on a case by

 case basis, including my Pro Hac Vice before this Court. I am fully familiar with the facts and

 circumstances described herein.
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          2.        BLG represents certain claimants alleging that their ovarian cancer was caused by

 their use of Johnson’s Baby Powder and/or Shower To Shower talcum powder products. Robert

 D. Cheeley, Esq., of The Cheeley Law Group, LLC (“CLG”), located at 2500 Old Milton Parkway,

 Suite 200, Alpharetta, GA 30009 serves as co-counsel with BLG in all such cases.

          3.        Attached hereto as Exhibit A, is a list of BLG/CLG talc claimants with pending

 lawsuits against Johnson & Johnson and/or its affiliates that complies with the requirements of

 Fed. R. Bankr. P. 2019(c), resulting from their talcum powder exposure as result of using products

 manufactured by Johnson & Johnson and/or its affiliates.

          4.        These claimants engaged BLG/CLG as co-counsel, in connection with pursuing

 their wrongful death and personal injury. All of BLG/CLG clients have been formally diagnosed

 with epithelial ovarian cancer.

          5.        Attached hereto as Exhibit B, is an exemplar Fee Agreement and Authority to

 Represent represented to be substantially the same in form and substance, of each form of

 agreement or instrument that have been executed by all claimants set forth in Exhibit A, whereby

 BLG/CLG is empowered to act on behalf of each claimant, redacted only with respect to any fee

 arrangement contained therein.

          6.        BLG/CLG does not hold any interest in the Debtor or its parent and affiliate

 companies.

          7.        I verify under the penalty of perjury that these statements are correct to best of

 knowledge and belief.




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          8.        BLG/CLG will supplement or amend this Verified Statement, as necessary or

 required under Fed. R. Bankr. P. 2019.

 Date: June 30, 2023                           Barnes Law Group, LLC
                                               Counsel for certain Georgia State Court Claimants
                                               Represented by Barnes Law Group, LLC

                                               By: /s/ John R. Bevis
                                                   JOHN R. BEVIS


                                               McMANIMON, SCOTLAND
                                               & BAUMANN, LLC
                                               Local Counsel for certain Georgia State Court
                                               Claimants Represented by Barnes Law Group, LLC

                                               By: /s/ Sari B. Placona
                                                   SARI B. PLACONA




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                       EXHIBIT A
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                                                           BLG/CLG TALC CLAIMANTS
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    Last Name        First Name                 Address              Nature of Claim   Amount of Claim   Disease Type   Histology   Stage


A                       Daima                                        Personal Injury     Unliquidated      Ovarian       Serous     IIIA
                                       Fayetteville, Georgia 30214
     A                 Elizabeth                                     Personal Injury     Unliquidated      Ovarian       Serous     N/A
                                         Buford, Georgia 30518
         A            Susie Ann                                      Personal Injury     Unliquidated      Ovarian       Serous     IIIC
                                         Griffin, Georgia 30223
     A                  Cheryl                                       Personal Injury     Unliquidated      Ovarian       Serous     IIIC
                                       Forest Park, Georgia 30297
     B                  Martha                                       Personal Injury     Unliquidated      Ovarian       Serous      IV
                                         Atlanta, Georgia 30310
    B                   Debbie                                       Personal Injury     Unliquidated      Ovarian       Serous      IV
                                         Monroe, Georgia 30666
         B              Minnie                                       Personal Injury     Unliquidated      Ovarian       Serous     IIIC
                                             Georgia 30534
     B                 Annette                                       Personal Injury     Unliquidated      Ovarian       Serous     IIIC
                                        Sumner, Georgia 31789
    C               Barbara Earline                                  Personal Injury     Unliquidated      Ovarian       Serous      IA
                                         McRae, Georgia 30155
         C              Martha                                       Personal Injury     Unliquidated      Ovarian       Serous     IIIC
                                         Camilla, Georgia 31736
    D                 Bernadette                                     Personal Injury     Unliquidated      Ovarian       Serous      IA
                                      Ormond Beach, Florida 32174
     D                  Connie                                       Personal Injury     Unliquidated      Ovarian       Serous      IIC
                                      Lawrenceville, Georgia 30066
    E                   Shirley                                      Personal Injury     Unliquidated      Ovarian       Serous      III
                                        Decatur, Georgia 30032
         E              Margie                                       Personal Injury     Unliquidated      Ovarian       Serous     IIIC
                                        Augusta, Georgia 30904
         F              Betty                                        Personal Injury     Unliquidated      Ovarian       Serous     N/A
                                       Jacksonville, Florida 32225
         F              Carol                                        Personal Injury     Unliquidated      Ovarian       Serous      IIB
                                             Georgia 30066
    G                   Sandra                                       Personal Injury     Unliquidated      Ovarian       Serous     IIIC
                                       Cumming, Georgia 30041
     G                  Sonna                                        Personal Injury     Unliquidated      Ovarian       Serous     IIIB
                                       Ellenwood, Georgia 30294
         H           Charlie Mae                                     Personal Injury     Unliquidated      Ovarian       Serous     IIIC
                                         Camilla Georgia 31730
         H              Nancy                                        Personal Injury     Unliquidated      Ovarian       Serous     IIIC
                                         Macon, Georgia 31210
     J                  Judith                                       Personal Injury     Unliquidated      Ovarian       Serous     IIIC
                                             Florida 33602
     J                  Judith                                       Personal Injury     Unliquidated      Ovarian       Serous      IIA
                                       Alpharetta, Georgia 30004
J               y       Jeanne                                       Personal Injury     Unliquidated      Ovarian       Serous     IC1
                                         Atlanta, Georgia 30324
    K                  Elizabeth                                     Personal Injury     Unliquidated      Ovarian       Serous     IC3
                                        Suwanee, Georgia 30024
     K                  Lynne                                        Personal Injury     Unliquidated      Ovarian       Serous     IIIC
                                        , Atlanta, Georgia 30327
     K                 Barbara                                       Personal Injury     Unliquidated      Ovarian       Serous     IIIC
                                         Atlanta, Georgia 30309
         L              Diana                                        Personal Injury     Unliquidated      Ovarian       Serous      III
                                        Newnan, Georgia 30263
                                      716
L                      Patricia                                      Personal Injury     Unliquidated      Ovarian       Serous     IIIC
                                        Canton, Georgia 30114
     L                 Eleanor                                       Personal Injury     Unliquidated      Ovarian       Serous      III
                                        Amerieus, Georgia 31719
    M                  Cammy                                         Personal Injury     Unliquidated      Ovarian       Serous     IIIC
                                       Columbus, Georgia 31906
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    M              Lizabeth                                 Personal Injury   Unliquidated   Ovarian      Serous      IIIC
                                Cumming, Georgia 30040
M                    Lisa                                   Personal Injury   Unliquidated   Ovarian      Serous      IIIC
                                Marietta, Georgia 30064
R                   Shelia                                  Personal Injury   Unliquidated   Ovarian      Serous      III
                               Monticello, Georgia 310064
        S            Betty                                  Personal Injury   Unliquidated   Ovarian      Serous      IA
                                 Atlanta, Georgia 30338
    S                Irene                                  Personal Injury   Unliquidated   Ovarian      Serous      IIIC
                                Leesburg, Georgia 31763
S                  Catherine                                Personal Injury   Unliquidated   Ovarian      Serous      IIIC
                               Woodstock, Georgia 30188
    S               Elnora                                  Personal Injury   Unliquidated   Ovarian      Serous      IIIC
                                Decatur, Georgia 30034
S                  Nell Rose                                Personal Injury   Unliquidated   Ovarian   Endometrioid   IA
                               Alpharetta, Georgia 30022
    S              Marilyn                                  Personal Injury   Unliquidated   Ovarian      Serous      IIIB
                                 Canton, Georgia 30115
    T               Frances                                 Personal Injury   Unliquidated   Ovarian      Serous      IIC
                               Woodstock, Georgia 30188
T                   Peggye                                  Personal Injury   Unliquidated   Ovarian      Serous      IC
                                 Athens, Georgia 30606
T                   Vicki                                   Personal Injury   Unliquidated   Ovarian      Serous      IC
                                 Atlanta, Georgia 30308
    W               Allison                                 Personal Injury   Unliquidated   Ovarian      Other        I
                                 Atlanta, Georgia 30316
W                   Tammy                                   Personal Injury   Unliquidated   Ovarian      Serous      IB
                                Marietta, Georgia 30064
W                  Elizabeth                                Personal Injury   Unliquidated   Ovarian      Serous      III
                               Columbus, Georgia 31904
W                    Janet                                  Personal Injury   Unliquidated   Ovarian   Endometrioid    I
                               Woodstoack, Georgia 30188
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                       EXHIBIT B
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                                            ATTORNEYS AT LAW




                 Barnes Law Group, LLC                                    Cheeley Law Group, LLC

                                              FEE CONTRACT and
                                           AUTHORITY TO REPRESENT

         I wish to retain the firm of The Barnes Law Group, LLC and The Cheeley Law Group, LLC (my
“attorneys”) to represent me and/or any estate I control in the pursuit of any and all claims against any and all persons
or entities arising out of or related to the use of TALC powder products and a diagnosis of ovarian cancer.

        I agree to pay to my attorneys the following fee from the total gross recovery or termination of employment as
described herein:




         In the event that a “structured settlement” or periodic payment agreement is reached, I agree that the attorneys’
fee shall be computed on the basis of the present value of the structured settlement at the time of the settlement or offer.
In determining the present value of the structured settlement, the parties agree to rely upon appropriate accounting
methods for determining present value as set forth by actuaries, economists or other experts in the field. Any expense
of determining present value shall be considered a cost for the case for which I agree to bear the expense in the event
of a recovery. Further, the attorneys’ fees, computed on the basis of “present value,” are due and payable at the time of
any settlement.

       I understand that this is a contingent fee contract. If there is no recovery or offer, there will be no fee owed
under the terms of this Fee Contract and Authority to Represent.

      I understand that my attorneys may advance court costs and expenses of litigation, the repayment of which is
also contingent on a recovery or offer unless ordered otherwise by a court of law. I understand that the attorneys will
not advance the medical costs for the care and treatment of the injuries sustained as a result of the incident listed above
as medical expenses remain at all times my sole responsibility.

         Should I recover or receive an offer as set forth herein, I agree to pay all advanced costs and to pay investigative
charges, telephone charges, photocopying charges and postage charges incurred in investigating, reviewing, settling, or
litigating my claim upon the successful resolution of same, in addition to the fees stated herein, and I authorize my
attorneys to deduct these advanced costs and charges from my settlement proceeds.




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        In the event that a settlement, verdict or judgment includes non-monetary aspects (e.g., restraining orders,
injunctions, employment reinstatement) that cannot be readily valued with respect to the agreed upon contingent fee,
then I agree to attempt to reach an agreement with the attorneys to value these non-monetary aspects for purposes of
determining how the attorneys will be compensated for obtaining that relief for me. Should we have a dispute over the
value of these non-monetary aspects, then in such event, the trial judge will set the value of such non-monetary aspects
of my case. Both sides agree the decision of the trial judge shall be final, and no appeal by either party will be taken.

         I further agree that should the attorneys and I not be able to agree on any non-monetary aspects of a settlement
verdict or award, the attorneys will not be precluded from obtaining, and realizing, their fees on the monetary aspects
of the settlement, verdict or award.

        Upon receipt by settlement or verdict of any proceeds, the said funds shall be disbursed as follows: First, from
the gross proceeds the attorney fee percentage shall be computed and deducted; next, all costs for investigation and
prosecution of the case including any and all filing fees, investigation fees, expert witness fees, and other like and similar
costs shall be deducted; next, any unpaid medical, hospital, pharmacy, insurance reimbursement or like and similar
costs shall be deducted. The resulting sum shall be net proceeds payable to client.

        If all or part of the prior costs have been paid by another source (e.g., insurance or medical coverage), I agree
that such source will be reimbursed out of any such proceeds if required by law, policy or agreement. The attorneys
have the authority and authorization to make such disbursements of those funds directly to the doctors, hospitals or
other persons concerned as is necessary.

         The attorneys are hereby authorized to fully investigate the claims I may have stemming from the above-
referenced incident. If the attorneys decide it is in my best interest to file a lawsuit or other legal proceedings on my
behalf, the attorneys have my authority to prepare and prosecute such claims. If at any time, having made reasonable
investigation of my claims, the attorneys determine that it is not feasible or proper for the attorneys to prosecute my
claims further, it shall so notify me in a timely fashion and, consistent with applicable ethical rules and obligations, may
withdraw from representation under this agreement.

        I further agree that the attorneys shall have a lien upon all monies, things or value and other consideration
recovered in any claim they prosecute on my behalf.

          It is further understood that neither I nor the attorneys will settle any claim arising out of this accident/incident
without first having the express consent of the other. It is understood and agreed that if either party receives a settlement
offer, it will be immediately forwarded to the other.

        Each party reserves the right to terminate the employment of the other. Upon any such termination, if there is
an outstanding offer of settlement that has been made by the defendant, its insurer or its agent, or a verdict has been
returned in the trial of my case, then for purposes of setting the fee due my attorneys, it shall be considered that the
contingency of recovery has been satisfied under this contract, and my attorneys shall receive as their fee the percentage
described above on any such offer or verdict.

         If at any time I am deemed to be incompetent (or if I am a minor) and if any court rules, statute or other law
requires an amendment or negation of this Authority To Represent, then the fees shall be such as may be approved by
court or as set forth by statute or rule of laws.




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         The attorneys have my authorization and consent to employ any other lawyer(s) as co-counsel, if, in the
attorneys discretion, they deem such appointment to be beneficial to the case. I agree that the co-counsel will also have
the right to represent me in the prosecution of my claims. However, the attorneys will have responsibility for paying
the co-counsel out of the fees identified above. If there is no recovery or offer, there will be no fees or costs owed
to designated co-counsel.

        It is understood that I have no other obligation to pay the co-counsel, but that any out-of-pocket expenses
incurred by co-counsel shall be considered costs of litigation for which I am responsible. It is understood that the co-
counsel will be available to me for consultation in this matter should I so desire.

        Also, this contract serves as notification by BLG to the client that the case file will be maintained by BLG
for a period of ten (10) years from the time that the case is closed, resolved, settled or the Statute of Limitations
has run, whichever date is the latest. At that time, the case file will be shredded and destroyed.

        The above employment is hereby accepted upon the terms and conditions stated herein.

        DATED: ________________________________




_____________________________                                              ______________________________
Client                                                                     The Barnes Law Group, LLC


_____________________________                                              ______________________________
Client                                                                     The Cheeley Law Group, LLC




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